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                                   “Exhibit A”
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                                DOBSON v. THE MILTON HERSHEY SCHOOL, et al.

                                     TEXT OF DISPUTED PINK REDACTIONS
         PDF Page                                                                  Justification for Redaction
Doc. #                      Contents of Redaction
         Number
                                                                                   Reveals content of
45       4-5                                                                       confidential discovery request

                                                                                   Information Derived from
                                                                                   Leaked Interrogatory/
                                                                                   Extrajudicial
46       10 (fn5)
                                                                                   Statements/Good Cause
                                                                                   Shown

                                                                                   Reveals content of
46       13                                                                        confidential discovery request

                                                                                   Reveals content of
46       17                                                                        confidential discovery request

                                                                                   Reveals content of
46       106 (Exhibit 11)                                                          confidential discovery request

                                                                                   Attorney Communications
                                                                                   regarding Extrajudicial
46       110 (Exhibit 12)                                                          Statements/Good Cause
                                                                                   Shown

                                                                                   Information Derived from
                                                                                   Leaked Interrogatory/
54       2                                                                         Extrajudicial
                                                                                   Statements/Good Cause
                                                                                   Shown
                                                       1
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                                                                      Information Derived from
                                                                      Leaked Interrogatory/
                                                                      Extrajudicial
54   4
                                                                      Statements/Good Cause
                                                                      Shown

                                                                      Information Derived from
                                                                      Leaked Interrogatory/
                                                                      Extrajudicial
54   5                                                                Statements/Good Cause
                                                                      Shown


                                                                      Information Derived from
                                                                      Leaked Interrogatory/
                                                                      Extrajudicial
55   2
                                                                      Statements/Good Cause
                                                                      Shown

                                                                      Information Derived from
                                                                      Leaked Interrogatory/
                                                                      Extrajudicial
55   4
                                                                      Statements/Good Cause
                                                                      Shown

                                                                      Information Derived from
                                                                      Leaked Interrogatory/
                                                                      Extrajudicial
                                                                      Statements/Good Cause
55   6                                                                Shown




                                          2
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                                                                            Information derived from
                                                                            confidential attorney
80   12                                                                     communications


                                                                            Information derived from
                                                                            confidential attorney
80   12
                                                                            communications

                                                                            Information derived from
                                                                            confidential attorney
                                                                            communications




80   12(fn5)




                                                                            Information derived from
                                                                            confidential attorney
80   13                                                                     communications



                                                3
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                                                                               Information derived from
                                                                               confidential attorney
80   17
                                                                               communications

                                                                               Information derived from
                                                                               confidential attorney
80   63 (Exhibit 2)                                                            communications/Extrajudicial
                                                                               statements/Good Cause

                                                                               Information derived from
                                                                               confidential attorney
                                                                               communications
80   67 (Exhibit 3)
                                                                               negotiations/Extrajudicial
                                                                               Statements/Good Cause
                                                                               Shown
                                                                               Information Derived from
                                                                               Leaked Interrogatory/
                                                                               Extrajudicial
                                                                               Statements/Good Cause
82   4                                                                         Shown; Prejudicial statement
                                                                               by Plaintiff’s former counsel,
                                                                               unsupported by record
                                                                               evidence.

                                                                               Information Derived from
                                                                               Leaked Interrogatory/
                                                                               Extrajudicial
                                                                               Statements/Good Cause
                                                                               Shown; Prejudicial statement
82   6
                                                                               by Plaintiff’s former counsel,
                                                                               unsupported by record
                                                                               evidence.



                                                   4
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                                                                               Information Derived from
                                                                               Leaked Interrogatory/
                                                                               Extrajudicial
                                                                               Statements/Good Cause
82   7                                                                         Shown/ Information derived
                                                                               from confidential attorney
                                                                               communications.


                                                                               Information derived from
                                                                               confidential attorney
82   13-14
                                                                               communications/Extrajudicial
                                                                               statements/Good Cause
                                                                               Information derived from
                                                                               confidential attorney
                                                                               communications/Extrajudicial
82   15                                                                        statements/Good Cause



                                                                               Information Derived from
                                                                               Leaked Interrogatory/
                                                                               Extrajudicial
                                                                               Statements/Good Cause
                                                                               Shown; Prejudicial statement
                                                                               by Plaintiff’s former counsel,
                                                                               unsupported by record
82   23 (Exhibit 1)
                                                                               evidence.




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                                                                               Information Derived from
                                                                               Leaked Interrogatory/
                                                                               Extrajudicial
                                                                               Statements/Good Cause
82   24 (Exhibit 1)                                                            Shown; Prejudicial statement
                                                                               by Plaintiff’s former counsel,
                                                                               unsupported by record
                                                                               evidence.

                                                                               Information Derived from
                                                                               Leaked Interrogatory/
                                                                               Extrajudicial
                                                                               Statements/Good Cause
82   25 (Exhibit 1)                                                            Shown; Prejudicial statement
                                                                               by Plaintiff’s former counsel,
                                                                               unsupported by record
                                                                               evidence.

                                                                               Information Derived from
                                                                               Leaked Interrogatory/
                                                                               Extrajudicial
                                                                               Statements/Good Cause
                                                                               Shown; Prejudicial statement
                                                                               by Plaintiff’s former counsel,
                                                                               unsupported by record
                                                                               evidence.
82   25 (Exhibit 1)




                                                   6
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                                                                               Information Derived from
                                                                               Leaked Interrogatory/
                                                                               Extrajudicial
                                                                               Statements/Good Cause
82   25 (Exhibit 1)
                                                                               Shown; Prejudicial statement
                                                                               by Plaintiff’s former counsel,
                                                                               unsupported by record
                                                                               evidence.
                                                                               Information Derived from
                                                                               Leaked Interrogatory/
                                                                               Extrajudicial
                                                                               Statements/Good Cause
82   26 (Exhibit 1)
                                                                               Shown; Prejudicial statement
                                                                               by Plaintiff’s former counsel,
                                                                               unsupported by record
                                                                               evidence.
                                                                               Information Derived from
                                                                               Confidential Attorney
                                                                               communications/Information
                                                                               Derived from Leaked
                                                                               Interrogatory/ Extrajudicial
                                                                               Statements/Good Cause
                                                                               Shown; Prejudicial statement
                                                                               by Plaintiff’s former counsel,
     26-27 (Exhibit                                                            unsupported by record
82
     1)                                                                        evidence.




                                                   7
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                                                                               Information Derived from
                                                                               Leaked Interrogatory/
                                                                               Extrajudicial
                                                                               Statements/Good Cause
85   3
                                                                               Shown; Prejudicial statement
                                                                               by Plaintiff’s former counsel,
                                                                               unsupported by record
                                                                               evidence.
                                                                               Information derived from
85   11                                                                        confidential attorney
                                                                               communications
                                                                               Information Derived from
                                                                               Confidential Attorney
                                                                               communications/Information
                                                                               Derived from Leaked
                                                                               Interrogatory/ Extrajudicial
                                                                               Statements/Good Cause
     16-19 (Exhibit
85                                                                             Shown; Prejudicial statement
     1)
                                                                               by Plaintiff’s former counsel,
                                                                               unsupported by record
                                                                               evidence.




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                                                                               Information Derived from
                                                                               Leaked Interrogatory/
     21-25 (Exhibit
85                                                                             Extrajudicial
     2)
                                                                               Statements/Good Cause
                                                                               Shown




                                                   9
